        4:22-bk-10799 Doc#: 24-1 Filed: 05/17/22 Entered: 05/17/22 13:44:49 Page 1 of 1

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6747703     Aidvantage        U.S. Department of Eduction         P.O. Box 9635           Wilkes−Barre, PA 18773−9635
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6747705     Bank of America         PO Box 982234         El Paso, TX 79998−2234
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6747698     Credit One        6801 S Cimarron Rd         Las Vegas, NV 89113
6747699     DJ Daily, DDS         17200 Chenal Pkwy Ste. 250          Little Rock, AR 72223
6747706     Entergy Arkansas, LLC         P.O. Box 8101        Baton Rouge, Louisiana 70891−8101
6747707     GEICO         ATTN: Region 3 Underwriting          PO BOX 9105             Macon, GA 31208−9105
6755246     LVNV Funding, LLC           Resurgent Capital Services          PO Box 10587         Greenville, SC 29603−0587
6747704     Little Rock Wastewater        11 Clearwater Drive         Little Rock, AR 72204
6747697     Midland Credit Management, Inc.          8875 Aero Drive, Suite 200          San Diego, CA 92123
6749974     Midland Credit Management, Inc.          PO Box 2037          Warren, MI 48090
6747701     National Enterprise Systems, Inc.       29125 Solon Rd           Cleveland, OH 11439
6758418     PORTFOLIO RECOVERY ASSOCIATES, LLC                      POB 41067           Norfolk, VA 23541
6747702     PayPal Credit       P.O. Box 965005         Orlando, FL 32896−5005
6759892     Premier Bankcard, LLC         PO Box 7999         St Cloud, MN 56302−9617
6757236     Quantum3 Group LLC as agent for CKS Prime Investments LLC                PO Box 788         Kirkland, WA
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6747708     The General Insurance        17304 Preston Rd Ste 1100           Dallas, TX 75252
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